443 F.2d 359
    SOUTHWESTERN FUND SALES, INC., Plaintiff-Appellant,v.SHAREHOLDERS MANAGEMENT COMPANY, Enterprise Fund, Inc., and Harbor Fund, Inc., Defendants-Appellees.
    No. 71-1272 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    June 4, 1971.
    
      Appeal from the United States District Court for the Western District of Texas; Ernest Guinn, Judge.
      Melvin Potash, Harry Lee Hudspeth, Potash &amp; Bernat, Inc., El Paso, Tex., for plaintiff-appellant.
      J. F. Hulse, El Paso, Tex., Roy W. McDonald, New York City, Scott, Hulse, Marshall &amp; Feuille, El Paso, Tex., for defendants-appellees; Roger W. Kapp, Daniel R. Murdock, Donovan, Leisure, Newton &amp; Irvine, New York City, of counsel.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir. See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    